                    Case 1:09-cr-00290-JTN
     AO 472 Order of Detention Pending Trial
                                                                 ECF No. 85, PageID.145                          Filed 11/04/09                Page 1 of 2



                           WESTERN DISTRICT OF MICHIGAN
     UNITED STATES OF AMERICA             ORDER OF DETENTION
             V.                           PENDING TRIAL
     JAMES LEE McCULLER                                                                        Case Number:         1:09-CR-290

            In accordance with the Bail Reform Act, 18 U.S.C.§3142(f), a detention hearing has been held. I conclude that the following facts
     require the detention of the defendant pending trial in this case.
                                                                   Part I - Findings of Fact
              (1)     The defendant is charged with an offense described in 18 U.S.C. §3142(f)(1) and has been convicted of a (federal
                      offense) (state or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had
                      existed) that is
                            a crime of violence as defined in 18 U.S.C.§3156(a)(4).
                            an offense for which the maximum sentence is life imprisonment or death.
                            an offense for which the maximum term of imprisonment of ten years or more is prescribed in

                              a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                              U.S.C.§3142(f)(1)(A)-(C), or comparable state or local offenses.
             (2)      The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
                      offense.
             (3)      A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
                      the offense described in finding (1).
             (4)      Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
                      assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this
                      presumption.
                                                                     Alternate Findings (A)
     ✘       (1)      There is probable cause to believe that the defendant has committed an offense
                      ✘     for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 801 et seq
                            under 18 U.S.C.§924(c).
     ✘       (2)      The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
                      reasonably assure the appearance of the defendant as required and the safety of the community.
                                                                     Alternate Findings (B)
     ✘       (1)      There is a serious risk that the defendant will not appear.
     ✘       (2)      There is a serious risk that the defendant will endanger the safety of another person or the community.
                     Defendant is a 26-year-old who has never held employment who smokes corn dogs (cocaine mixed with marijuana) two to
                     three times a week and marijuana daily. Defendant maintains he has a learning disability and is unable to read and
                     therefore has never held employment. He did in fact receive Social Security disability income until nine years ago, but that
                     was apparently discontinued, and the inability to read, by itself, would normally not preclude some type of employment.

                     Defendant has, however, managed to obtain a very extensive criminal history in his brief (continued on attached page)
                                           Part II - Written Statement of Reasons for Detention
I find that the credible testimony and information submitted at the hearing establishes by a preponderance of the evidence that
   no condition or combination of conditions will assure the presence of the defendant for future court proceedings in light of (1)
   the unrebutted presumption, and (2) in the alternative, his 17 failures to appear over the last eight years, his absconding
   status in 2006, and his unrestrained use of drugs on a daily basis.

                                                      Part III - Directions Regarding Detention
       The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
  facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
  defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States
  or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the United
  States marshal for the purpose of an appearance in connection with a court proceeding.


    Dated:         November 3, 2009                                                             /s/ Hugh W. Brenneman, Jr.
                                                                                                                        Signature of Judicial Officer
                                                                                              Hugh W. Brenneman, United States Magistrate Judge
                                                                                                                     Name and Title of Judicial Officer

          *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. §801 et seq. ); (b) Controlled Substances Import and Export Act (21 U.S.C. §951 et seq. ); or
    (c) Sectlon 1 of Act of Sept. 15, 1980 (21 U.S.C. §955a).
        Case 1:09-cr-00290-JTN ECF No. 85, PageID.146                          Filed 11/04/09       Page 2 of 2
United States v. JAMES LEE McCULLER
1:09-CR-290
ORDER OF DETENTION PENDING TRIAL
Page 2.




Alternate Findings (B) - (continued)

adulthood. During these years defendant has failed to appear at least 17 times for court proceedings. Defendant has
also committed drug offenses while on probation and absconder status. He presently has a bench warrant
outstanding.

After being advised of the pending charges and being instructed to turn himself in, defendant failed to turn himself in as
promised and avoided the federal marshals for approximately a week. Ultimately, he chose to turn himself in at a time
of his own chosing.




Part II - Written Statement of Reasons for Detention - (continued)
